          Case 1:17-cv-00255-TSC Document 140 Filed 01/31/18 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


PARS EQUALITY CENTER, IRANIAN                         Civil Action No. 1:17-cv-255
AMERICAN BAR ASSOCIATION, PUBLIC
AFFAIRS ALLIANCE OF IRANIAN                           Hon. Tanya S. Chutkan
AMERICANS, INC., et al.,

                Plaintiffs,

                v.

DONALD J. TRUMP et al.,

                Defendants.



                              NOTICE OF VOLUNTARY DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Mohammad Reza Shaeri, by and

through counsel, hereby voluntarily dismisses, without prejudice, all claims that he makes in his

complaint against Defendants Donald J. Trump, U.S. Department of Homeland Security, U.S.

Customs and Border Protection, U.S. Department of State, U.S. Department of Justice, Elaine

Duke, Kevin K. McAleenan, Rex W. Tillerson, Jefferson Beauregard Sessions III, and Daniel R.

Coats.
        Case 1:17-cv-00255-TSC Document 140 Filed 01/31/18 Page 2 of 2




Dated: January 31, 2018

__/s/ Cyrus Mehri__________              John A. Freedman (D.C. Bar # 453075)
Cyrus Mehri (D.C. Bar # 420970)          David P. Gersch (D.C. Bar # 367469)
U.W. Clemon (D.D.C. Bar #AL0013)         R. Stanton Jones (D.C. Bar # 987088)
Joanna K. Wasik (D.C. Bar # 1027916)     Nancy L. Perkins (D.C. Bar # 421574)
MEHRI & SKALET, PLLC                     Ronald A. Schechter (D.C. Bar # 245019)
1250 Connecticut Ave., NW                Robert N. Weiner (D.C. Bar # 298133)
Suite 300                                Samuel M. Witten (D.C. Bar # 378008)
Washington, DC 20036                     Sally L. Pei (D.C. Bar # 1030194)
(202) 822-5100                           Sonia Tabriz (D.C. Bar # 1025020)
(202) 822-4997 (fax)                     Stephen K. Wirth (D.C. Bar # 1034038)
cmehri@findjustice.com                   ARNOLD & PORTER
                                           KAYE SCHOLER LLP
Kristen Clarke (D.C. Bar # 973885)       601 Massachusetts Ave., NW
Jon Greenbaum (D.C. Bar # 489887)        Washington, DC 20001
LAWYERS’ COMMITTEE FOR                   (202) 942-5000
  CIVIL RIGHTS UNDER LAW                 (202) 942-5999 (fax)
1401 New York Ave., NW                   john.freedman@apks.com
Suite 400
Washington, DC 20005                     Christopher M. Odell (pro hac vice)
(202) 662-8600                           ARNOLD & PORTER
(202) 783-0857 (fax)                       KAYE SCHOLER LLP
jgreenbaum@lawyerscommittee.org          700 Louisiana Street, Suite 1600
                                         Houston, TX 77002
Hassan Zavareei (D.C. Bar # 456161)      (713) 576-2400
TYCKO & ZAVAREEI LLP                     (713) 576-2499 (fax)
1828 L Street, NW                        christopher.odell@apks.com
Suite 1000
Washington, DC 20036                     Susan S. Hu (pro hac vice)
(202) 973-0900                           ARNOLD & PORTER
(202) 973-0950 (fax)                       KAYE SCHOLER LLP
hzavareei@tzlegal.com                    250 West 55th Street
                                         New York, NY 10019
Adrienne D. Boyd (pro hac vice)          (212) 836-8000
ARNOLD & PORTER                          (303) 836-8689 (fax)
  KAYE SCHOLER LLP                       susan.hu@apks.com
Suite 4400
370 Seventeenth Street
Denver, CO 80202
(303) 863-1000
(303) 832-0428 (fax)                     Counsel for Plaintiffs
adrienne.boyd@apks.com
